Case 2:05-cr-20177-SH|\/| Document 121 Filed 08/11/05 Page 1 of 3 Page|D 137

IN THE UNITED sTATEs DISTRICT coURT F'LE° BV~W:~D~C-
FoR THE wEsTERN DISTRICT oF TENNESSEE

 

wEsTERN DIvISIoN 05 AUG l l H 2= 36
if ' .
UNITED sTATES oF AMERICA, G-ERKUS§ BSSTUCOIBT
WDU“W}%MHU
vs. No. 05*20177-MaA

COREY WILLIAMS ,

Defendant.

 

ORDER GRANTING PERMISSION FOR DEFENDANT TO TRAVEL

 

Before the court is the August ll, 2005, motion by defendant
requesting permission to travel to Hot Springs, Arkansas, to
attend a church retreat. Mr. Williams' Pretrial Officer does not
object to the motion. For good cause shown, the motion to travel
is granted and defendant is allowed to travel to Hot Springs,
Arkansas, on August 12, 2005, for the purpose of attending a

church retreat, and will return to Memphis on August 14, 2005.

    

 

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lt is so oRDERED this // day of ugust, 2005.

 

. ANIEL BREEN for
S EL H. M.AYS, JR.
ED S'I‘ATES DISTRICT JUDGE

This doctment entered on the docket sheet in compliance

with F¢.ne 55 and/or 321:>) FRch on ._3’_@@_5-»_
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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 121 in
case 2:05-CR-20177 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

Samuel L. Perkins

SL PERKINS LAW GROUP, PLLC
147 Jefferson Ave.

Ste. 804

1\/1emphis7 TN 38103

Marvin E. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

1\/1emphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

1\/1emphis7 TN 38103

Benard Weinman

LAW OFFICE OF BENARD WEINMAN
275 Jefferson Ave

1\/1emphis7 TN 38103

Arthur C. Walton

LAW OFFICE OF ARTHUR C. WALTON
906 S. Cooper St.

Ste. 102

1\/1emphis7 TN 38104

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Tony L. AXam

LAW OFFICE OF TONY L. AXAM
1280 W. Peachtree St.

Ste. 3 10

Atlanta, GA 30309

Randall W. Pierce
WAMPLER & PIERCE
P.O. Box 34 1 0

1\/1emphis7 TN 3 8173--041

Honorable Samuel Mays
US DISTRICT COURT

